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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

NATIONAL INSTITUTE OF FAMILY
AND LIFE ADVOCATES et al.,
                                                     No. 3:23-cv-50279
       Plaintiffs,
                                                     Honorable Iain D. Johnston,
v.                                                   District Judge

KWAME RAOUL, in his official capacity                Honorable Lisa A. Jensen,
as Attorney General of the State of Illinois,        Magistrate Judge

       Defendant.

                                   JOINT STATUS REPORT

       The parties respectfully submit this joint status report per the Court’s direction. ECF 37.

The parties continue to engage in productive global discussions and respectfully ask the Court to

provide them until December 11, 2023, to complete those discussions. The parties expect to

submit a joint motion to enter an agreed order on that date. The parties are available to answer

any questions the Court may have in the meantime.



Dated: November 30, 2023                         Respectfully submitted,

 /s/ Peter Breen (with permission)                /s/ Darren Kinkead
Peter Breen                                      Darren Kinkead
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